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                       UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA


THOMAS GALLINA,                              :
                                             :
                              Plaintiff,     :
                                             :       CIVIL ACTION NO. 2:23-cv-03102
               v.                            :
                                             :
GREAT NORTHERN INSURANCE                     :
COMPANY,                                     :
                                             :
                              Defendant.     :
                                             :

                        CORPORATE DISCLOSURE STATEMENT

       Defendant, Great Northern Insurance Company (“GNIC”), by and through its undersigned

counsel, and pursuant to Federal Rule of Civil Procedure 7.1, hereby discloses as follows:

       GNIC (a private non-governmental party) certifies that Great Northern Insurance Company

is a wholly owned subsidiary of Federal Insurance Company. Federal Insurance Company is a

wholly-owned subsidiary of Chubb INA Holdings, Inc., of which Chubb Group Holdings, Inc.

owns 80% and Chubb Limited owns 20%. Chubb Group Holdings, Inc. is a wholly owned

subsidiary of Chubb Limited, which is a publicly-traded company, listed on the New York Stock

Exchange (symbol: CB). No publicly held corporation owns 10% or more of the stock of Chubb

Limited.

                                                 COZEN O’CONNOR


                                                 BY: /s/ Charles J. Jesuit, Jr., Esq.
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DATED: August 11, 2023                              Attorneys for Defendant, Great Northern
                                                    Insurance Company
